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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS                                 -S   9

                                  AUSTIN DIVISION                                              Pj-   j:
                                                                                                          16



UNITED STATES OF AMERICA,
                    Plaintiff,

-vs-

BRIAN D. HANEY; DAVID K. HANEY; HANEY
& HANEY, LLC; VIDOR PHARMACY, LLC;
KEVIN MICHAEL GRAY; and FAMILY
PHARMACY, INC.,
                      Defendants.



                                            ORDER

       BE IT REMEMBERED on this day the Court reviewed the file in the above-styled cause, and

noting there has been no activity since March 6, 2018, enters the following order:

               IT IS ORDERED that on or before November 24, 2018 the parties shall file a report

       on the status of this case. If there is no settlement pending, the parties shall file a proposed

       scheduling order, in addition to the status report.

       SIGNED this the      1.'   day of November 2018.




                                                   SAM SPARKS
                                                   SENIOR UNITED STATES DISTRICT JUDGE




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